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Case 4:22-cv-05137-YGR  Document1-1 Filed 09/09/22 9 Page y of 2 s/ R 7
VKD
CIVIL COVER SHEET

The JS-CAND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules of court. This form, approved in its original form by the Judicial Conference of “the United States in September 1974. is required for the Clerk of

JS-CAND 44 (Rev. 10/2020)

Court to initiate the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

~ I. (a) PLAINTIFFS

MR.

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

The Pride Law Firm, 2831 Camino Del Rio S.

., Ste. 104, San Diego, CA 92108; 619-516-8166

DEFENDANTS

FEDERAL CORRECTIONAL INSTITUTION ("FCI") DUBLIN; ROSS KLINGER: RAY J. GARCTA; and UNITED STATES
OF AMERICA

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

‘ ve Hn
Attorneys (If Known) NE fo My

Alameda

Il. BASIS OF JURISDICTION (Place an “XN” in One Box Only) il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “NX” in One Box for Plainti{?
(For Diversity Cases Only) and One Box for Defendant)
= : oe . PIF DEF PTF DEF
1 U.S. Government Plaintiff 3 Federal Question Citizen of This State 1 | Incorporated or Principal Place 4 4
(U.S. Government Not a Party) of Business In This State
x us.G Defendant A Diversit Citizen of Another State 2 2 Incorporated ad Principal Place 5 5
2 .S. Government Defendan 4 Diversity Biveinaee ao Grane
. (Indicate Citizenship of Parties in Item III) “a5 : oF Business fh Another State
Citizen or Subject of a 3 3 Foreign Nation 6 6
Foreign Country
IV. NATURE OF SUIT (Place an “\” in One Box Only)
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY 625 Drug Related Seizure of 422 Appeal 28 USC § 158 375 False Claims Act

120 Marine

130 Miller Act

140 Negotiable Instrument

150 Recovery of
Overpayment Of
Veteran’s Benefits

151 Medicare Act
152 Recovery of Detaulted

Student Loans (Excludes

Veterans)

153 Recovery of
Overpayment

of Veteran’s Benefits

310 Airplane
315 Airplane Product Liability
320 Assault, Libel & Slander

330 Federal Employers’
Liability

340 Marine

345 Marine Product Liability

350 Motor Vehicle

355 Motor Vehicle Product
Liability

360) Other Personal Injury

362 Personal Injury -Medical

365 Personal Injury — Product
Liability

367 Health Care/
Pharmaceutical Personal
Injury Product Liability

368 Asbestos Personal Injury
Product Liability

PERSONAL PROPERTY

370 Other Fraud

371 Truth in Lending

380 Other Personal Property
Damage

385 Property Damage Product

Property 21 USC § 881 423 Withdrawal 28 USC 376 Qui Tam (31 USC

690 Other § 157 | § 3729(a))
LABOR PROPERTY RIGHTS , 400 State Reapportionment
: ; : 0 Anti

710 Fair Labor Standards Act | 820 Copyrights i a ee ‘Bent

720 Labor/Management 830 Patent faa c, s and Banking
Relations $35 Patent—Abbreviated New + = OTN SRE

740 Railway Labor Act | Drug Application _ 460 Deportation

751 Family and Medical 840 Trademark 470 Racketeer Influenced &
Leave Act 880 Defend Trade Secrets | Corrupt Organizations

480 Consumer Credit

485 Telephone Consumer
Protection Act

790 Other Labor Litigation

791 Employee Retirement
Income Security Act

| Act of 2016
SOCIAL SECURITY
861 HIA (139580)

i sped Riithe Malpractice es IMMIGRATION , i oi 490 Cable/Sat TV
160 Stockholders’ Suits Liability —— Bee Eb Lae (923) 850 Securities/Commodities/
. Other connaet vabil CIVIL RIGHTS PRISONER PETITIONS 462 dotiaien 863 DIWC/DIWW (405(g)) | Exchange
S Contract duct Liability a 864 SS ‘ithe X sane ~ iene
on ONO 440 Other Civil Rights HABEAS CORPUS 465 Other Immigrat : ren jan Dies Shuler ins
196 Franchise . er Immigration 865 RSI (405(g)) 891 Agricultural Acts
—— 441 Voting 463 Alien Detainee Actions | oe 9c
REAL PROPERTY 442 Employment 510 Motions to Vacate | FEDERAL TAX SUITS 83 Environmental Matters
210 Land Condemnation 443 Housing/ Sentence $70 Taxes (U.S. Plaintiff or 895 Freedom of Information
220 Foreclosure Accommodations 530 General | Defendant) | Act
a, . ye saadlTieSisas_. a 7 Dare 6 TTaC 896 Arbitration
230 Rent Lease & Ejectment 445 Amer. \w/Disabilities 535 Death Penalty 871 IRS-Third Party 26 USC . en
Employment 3 5 7609 899 Administrative Procedure
a a ‘0 hand 5 ants 446 Amer. w/Disabilities—Other snes , Act/Review or Appeal of
245 Tort Product Liability sas 7” ° 540 Mandamus & Other Agency Decision
290 All Other Real Property e eueation, 550 Civil Rights 950 Constitutionality of State
° 555 Prison Condition Statutes
560 Civil Detainee—
Conditions of
Confinement
V. ORIGIN (Place an an “NX” in One Box Only)
1 Original Removed from 3 Remanded from 4 Reinstated or 5 Transferred from 6 Multidistrict 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District (specifi) Litigation-Transfer Litigation—Direct File
VI. CAUSE OF Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
ACTION 2 Sige
Brief descrintion of cause:
MLR. has suffered physical and emotional damages due to BOP Officer Klinger's continued sexual assault of MLR.
VIL REQUESTEDIN — CHECK IF THIS IS A CLASS ACTION DEMAND $ 5,000,000.00 CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, Fed. R. Civ. P. JURY DEMAND: x Yes No

VIII. RELATED CASE(S),

JUDGE DOCKET NUMBER
IF ANY (See instructions): ©
IX. DIVISIONAL ASSIGNMENT (Civil Local Rule 3-2)
(Place an “X” in One Box Only) x SAN FRANCISCO/OAKLAND SAN JOSE EUREKA-MCKINLEYVILLE

DATE 09/09/2022

SIGNATURE OF ATTORNEY OF RECORD

/s/ Jessica K. Pride
JS-CAND

Case 4:22-cv-05137-YGR Documenti-1 Filed 09/09/22 Page2of2

44 (rev. 10/2020)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS-CAND 44

Authority For Civil Cover Sheet. The JS-CAND 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and
service of pleading or other papers as required by law, except as provided by local rules of court. This form, approved in its original form by the Judicial
Conference of the United States in September 1974, is required for the Clerk of Court to initiate the civil docket sheet. Consequently, a civil cover sheet is
submitted to the Clerk of Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I. a)

b)

¢)

I.

TH.

Vi

VI.

VILL.

IX.

Date

Plaintiffs-Defendants. Enter names (last. first, middle inttial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a govemment agency, identify first the agency and
then the official. giving both name and title.

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filmg. (NOTE: In land
condemnation cases. the county of residence of the “defendant” is the location of the tract of land involved.)

Attorneys. Enter the-firm name, address, telephone number, and attorney of record. If there are several attoreys, list them en an attachment, noting
in this section “(see attachment).”

Jurisdiction. The basis of jurisdiction is set forth under Federal Rule of Civil Procedure 8(a), which requires that jurisdictions be shown in
pleadings. Place an “X" in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

(1) United States plaintiff. Jurisdiction based on 28 USC §§ 1345 and 1348. Suits by agencies and officers of the United States are included here.

(2) United States defendant. When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.

(3) Federal question. This refers to suits under 28 USC § 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code
takes precedence, and box | or 2 should be marked.

(4) Diversity of citizenship. This refers to suits under 28 USC § 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section IIT below, NOTE: federal question actions take precedence over diversity
cases.)

Residence (citizenship) of Principal Parties. This section of the JS-CAND 44 is to be completed if diversity of citizenship was indicated above.
Mark this section for each principal party.

Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
one nature of suit, select the most definitive.

Origin. Place an “X” in one of the six boxes.

(1) Original Proceedings. Cases originating in the United States district courts.

(2) Removed from State Court. Proceedings initiated in state courts may be removed to the district courts under Title 28 USC § [441. When the
petition for removal is granted, check this box.

(3) Remanded from Appellate Court. Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

(4) Reinstated or Reopened. Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.

(5) Transferred from Another District. For cases transferred under Title 28 USC § 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers. .

(6) Multidistrict Litigation Transfer. Check this box when a multidistrict case is transferred into the district under authority of Title 28 USC
§ 1407. When this box is checked, do not check (5) above.

(8) Mulltidistrict Litigation Direct File. Check this box when a multidistrict litigation case is filed in the same district as the Master MDL docket.

Please note that there is no Origin Code 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in statute.

Cause of Action. Report the civil statute directly related fo the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC § 553. Brief Desoription: Unauthorized reception of cable service.

Requested in Complaint. Class Action. Place an “X™ in this box if you are filing a class action under Federal Rule of Civil Procedure 23.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary mjunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Related Cases. This section of the JS-CAND 44 is used to identify related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Divisional Assignment. If the Nature of Suit is under Property Rights or Prisoner Petitions or the matter is a Securities Class Action, leave this
section blank. For all other cases, identify the divisional venue according to Civil Local Rule 3-2: “the county in which a substantial part of the
events or omissions which give rise to the claim occurred or in which a substantial part of the property that is the subject of the action is situated.”

and Attorney Signature. Date and sign the civil cover sheet.
